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 7

 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10

11   HOST INTERNATIONAL, INC.,                    )   CASE NO.: 2:19-cv-01568
                                                  )
12                Petitioner,                     )   [Assigned For All Purposes to Magistrate
                                                  )   Judge Suzanne H. Segal]
13         vs.                                    )
                                                  )   CERTIFICATE OF SERVICE
14   UNITE HERE, LOCAL 11, and Does 1             )
     through 20, inclusive,                       )   (Filed concurrently with Notice and Notice
15                                                )   of Motion; Memorandum of Points and
                  Respondents.                    )   Authorities; Declaration of Lawrence H.
16                                                )   Stone and Exhibits Thereto; Declaration of
                                                  )   Angelina Preston and Exhibits Thereto;
17                                                )   Declaration of John Sutherland; and
                                                  )   [Proposed] Order)
18                                                )
19
20   I, Vivian Castillo, certify and declare as follows:
21         I am employed in the County of Los Angeles, State of California. I am over the age
22   of eighteen years and not a party to this action; my business address is 725 South Figueroa
23   Street, Suite 2500, Los Angeles, CA 90017.
24         On March 5, 2019, I served the following:
25      1) NOTICE OF MOTION AND MOTION OF PETITIONER HOST
26         INTERNATIONAL, INC. TO VACATE ARBITRATOR’S RULING;
27         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF;
28

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 1        2) DECLARATION OF ANGELINA PRESTON IN SUPPORT OF PETITIONER
 2             HOST INTERNATIONAL, INC.’S PETITION TO VACATE;
 3        3) DECLARATION OF LAWRENCE H. STONE IN SUPPORT OF PETITIONER
 4             HOST INTERNATIONAL, INC.’S PETITION TO VACATE;
 5        4) DECLARATION OF JOHN SUTHERLAND IN SUPPORT OF PETITIONER
 6             HOST INTERNATIONAL, INC.’S MOTION TO VACATE; and
 7        5) [PROPOSED] ORDER GRANTING PETITIONER HOST INTERNATIONAL,
 8             INC.’S MOTION TO VACATE ARBITRATOR’S RULING.
 9   in this action by placing true copies thereof enclosed in a sealed envelope addressed as
10   follows:
11                                     Kristin L. Martin, Esq.
                               McCracken, Stemerman & Holsberry LLP
12                                  595 Market Street, Suite 800
                                     San Francisco, CA 94105
13                                        P: 415.597.7200
                                       Email: klm@msh.law
14

15             BY GSO OVERNIGHT DELIVERY SERVICE I am "readily familiar" with the
16   firm's practice of collection and processing correspondence for deposit with GSO Priority
17   Overnight Delivery Service. Under that practice it would be deposited with GSO Priority
18   Overnight Delivery Service on that same day with fees thereon fully prepaid at Los
19   Angeles, California in the ordinary course of business. I am aware that on motion of the
20   party served, service is presumed invalid if date of receipt of the document by GSO Priority
21   Overnight Delivery Service is more than one day after date of deposit for mailing in
22   affidavit.
23             I declare that I am employed in the office of a member of the bar of this Court at
24   whose direction the service was made.
25             Executed on March 5, 2019, at Los Angeles, California.
26                                                         /s/ Vivian A. Castillo
27                                                         Vivian Castillo
     4817-4305-8057, v. 1
28

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